       Case 1:21-cr-00105-JMC           Document 116        Filed 11/18/24      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-cr-105 (JMC)
                                              :
HENRY PHILLIP MUNTZER,                        :
also known as “Hank Muntzer”                  :
                                              :
                       Defendant.             :
                                              :

                 UNITED STATES’ OPPOSITION TO DEFENDANT’S
               MOTION FOR EXTENSION OF SELF-SURRENDER DATE

       The defendant, Henry Muntzer, has moved to delay the date of his self-surrender to the

Bureau of Prisons (“BOP”). ECF No. 115. Because Mr. Muntzer’s motion provides no justification

for this delay, nor could it, the Court should deny the motion.

       Nearly four years have passed since Mr. Muntzer was first charged, by criminal complaint,

in this case. ECF No. 1. After a lengthy pretrial period, including multiple continued trial dates,

this case finally proceeded to trial in early February 2024. On February 7, 2024, this Court found

Mr. Muntzer guilty of all six counts of the superseding indictment. ECF No. 80. The case was

initially set for sentencing on June 20, but, to allow the parties to response to the Supreme Court’s

decision in Fischer v. United States, 144 S. Ct. 2176 (2024), sentencing was subsequently

continued to October 10, 2024. Aug. 8, 2024, Notice of Hearing.

       On October 10, 2024—after hearing from the government, from defense counsel, and from

Mr. Muntzer himself—the Court sentenced Mr. Muntzer to, inter alia, 24 months of incarceration.

The Court denied the government’s motion for Mr. Muntzer to be detained, and, after the




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       Case 1:21-cr-00105-JMC          Document 116         Filed 11/18/24      Page 2 of 3




government requested that Mr. Muntzer be required to report to BOP forthwith, the Court indicated

that it would defer to BOP’s procedures for determining an appropriate report date.

       On November 18, 2024, the U.S. Probation Office contacted Mr. Muntzer, advising him to

report to FCI Lompoc II on November 26, 2024 to begin serving his sentence of incarceration.

That same day—more than five weeks after the Court announced its sentence and over nine months

after the Court rendered its verdict in this case—Mr. Muntzer filed the present motion, seeking to

delay his report date early January 2026.1 Other than the barest reference to “get[ting] his affairs

in order,” Mr. Muntzer provides absolutely no justification for this delay. (Moreover, Mr. Muntzer

provides no explanation for why he was unable to “get his affairs in order” in the weeks since the

Court imposed its sentence, let alone the months since the verdict.)

       There is a strong public interest in the prompt and efficient administration of justice. Here,

despite the best efforts of the government and of the Court, numerous delays have already caused

nearly four years to elapse since this case commenced. It has been nine months since the Court

rendered its verdict in this case and over five weeks since the Court pronounced a sentence. Mr.

Muntzer has had ample time to get his affairs in order and prepare to serve his sentence.

       For the foregoing reasons, the government respectfully requests that the Court deny Mr.

Muntzer’s motion and require that he report to FCI Lompoc II on November 26, 2024, as requested

by the Bureau of Prisons, to begin serving his sentence.



                                              Respectfully submitted,



1
 The government does not know whether the defendant intended to write “2025” instead.
Regardless, we oppose.
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Case 1:21-cr-00105-JMC   Document 116       Filed 11/18/24     Page 3 of 3




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